931 F.2d 50
    Gross Metal Products, Inc.v.Metal Finishing Fabricators, Inc., Bleckner &amp; BlecknerInsurance Agency Inc., U.S. Fidelity &amp; Guaranty Co.,Fidelity &amp; Guaranty Insurance Underwriters, Inc., BuckeyeUnion Insurance Co.; Fidelity and Guaranty InsuranceUnderwriters, Inc., U.S. Fidelity and Guaranty Co.
    NO. 90-1679
    United States Court of Appeals,Third Circuit.
    MAR 15, 1991
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      AFFIRMED.
    
    